Case 5:18-cv-00083-TBR-LLK Document 85 Filed 10/25/19 Page 1 of 3 PageID #: 488




                          81,7('67$7(6',675,&7&2857
                        :(67(51',675,&72).(178&.<
                                        3$'8&$+',9,6,21
                                           (OHFWURQLFDOO\)LOHG
                                                       
9$5,1$)$/.1(5'266                           
               3ODLQWLII                            
Y                                                       
                                            
                                                   &LYLO$FWLRQ1RFY7%5
0%775$163257,1&                          
$1'                                  
3$8/:$5=2&+$                                 
               'HIHQGDQWV                    
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                     
          
                                                       

                   $*5(('6(&21'$0(1'('6&+('8/,1*25'(5

        7KLV PDWWHU KDYLQJ FRPH EHIRUH WKH &RXUW XSRQ WKH DJUHHPHQW RI WKH SDUWLHV DV LV

HYLGHQFHE\UHVSHFWLYHFRXQVHOV¶VLJQDWXUHVEHLQJDIIL[HGKHUHWREHORZDQGWKH&RXUWQRWLQJWKDW

WKH$JUHHG6HFRQG$PHQGHG6FKHGXOLQJ2UGHULVMRLQWO\DJUHHGDQGWKH&RXUWEHLQJRWKHUZLVH

WKRURXJKO\DQGVXIILFLHQWO\DGYLVHG

        ,WLVKHUHE\RUGHUHGWKDWWKHIROORZLQJGHDGOLQHVVKDOOEHREVHUYHGLQWKLVDFWLRQ

              Previously
                1RWXVHG set deadlines are vacated. The telephonic conference set on 2/13/20,
the final pretrial set on 5/29/20, and the jury trial set on 6/15/20 are vacated.
                1R ODWHU WKDQ -DQXDU\   WKH SDUWLHV VKDOO ILOH DOO PRWLRQV WR DPHQG
 SOHDGLQJV
         
         
                ,GHQWLI\H[SHUWVLQFRPSOLDQFHZLWK)HG5&LY3 D  
                  
                  %\3ODLQWLII V        )HEUXDU\
                  %\'HIHQGDQW V        $SULO
                  
                1RODWHUWKDQ-DQXDU\WKHSDUWLHVVKDOOFRPSOHWHDOOGLVFRYHU\1RODWHU
 WKDQ 0D\   WKH SDUWLHV VKDOO FRPSOHWH H[SHUW GLVFRYHU\ 3XUVXDQW WR  86& 
  %  D  WKLV PDWWHU LV UHIHUUHG WR 0DJLVWUDWH -XGJH /DQQ\ .LQJ IRU UXOLQJ RQ DOO
 GLVFRYHU\ PRWLRQ 1R GLVFRYHU\ PRWLRQ PD\ EH ILOHG ZLWKRXW KDYLQJ D MRLQW WHOHSKRQLF
 FRQIHUHQFHZLWKWKH-XGJHDUUDQJHGWKURXJKKLVRIILFH  
     
Case 5:18-cv-00083-TBR-LLK Document 85 Filed 10/25/19 Page 2 of 3 PageID #: 489




              $ 7HOHSKRQLF VWDWXV FRQIHUHQFHVisFXUUHQWO\
                                                         set on MayVHW
                                                                      15,DUH
                                                                           2020,   at 9:00 a.m. Central.
                                                                               5(0$1'('                  The
                                                                                                   DQG ZLOO EH
 UHVHWE\WKH&RXUW
Court will place the call to counsel.
                 1R ODWHU WKDQ -XQH   FRXQVHO IRU WKH SDUWLHV VKDOO ILOH DOO GLVSRVLWLYH
 PRWLRQV DQG DQ\ PRWLRQV REMHFWLQJ WR WKH DGPLVVLELOLW\ RI H[SHUW ZLWQHVV WHVWLPRQ\ XQGHU
 )HG5(YLGDQGDaubert v. Merrell Dow Pharmaceutical, Inc., 509 U.S. 579 (1993), Kumbo
 Tire Co. v. Carmichael, 526 U.S. 137 (1999). 
          7KHSDUW\ ILOLQJWKHODVW SOHDGLQJ LQ UHVSRQVHWR VXFKPRWLRQVVKDOOQRWLI\WKH &RXUWE\
 HPDLO WR KLV FDVH PDQDJHU .HOO\B3B+DUULV#N\ZG XVFRXUWVJRY ZLWK FRSLHV WR RSSRVLQJ
 FRXQVHOWKDWWKHPRWLRQVDUHULSHIRUGHFLVLRQ
 
                 7KH DFWLRQ VFKHGXOHG IRU D WHOHSKRQLF ILQDO SUHWULDO FRQIHUHQFH RQ
 BBBBBBBBBBBBDWBBBBBB&HQWUDO7LPH7KHFRQIHUHQFHZLOOEHKHOGWHOHSKRQLFDOO\ZLWKWKH
9/25/2020               9 00
 &RXUWSODFLQJWKHFDOOWRFRXQVHO$WWRUQH\VZKRZLOOEHWU\LQJWKHFDVHVKDOOEHDYDLODEOHZLWK
 IXOOVHWWOHPHQWDXWKRULW\
          
                 $WOHDVWGD\VEHIRUHWKHSUHWULDOFRQIHUHQFHFRXQVHOVKDOO
          
                   D  )XOO\ FRPSO\ ZLWK )HG5&LY3URF D  $  DV LW DSSOLHV WR ZLWQHVVHV DQG
                       H[KLELWOLVWSURGXFWLRQ
                   E  3URGXFH WR RSSRVLQJ FRXQVHO DOO H[KLELWV DQG FKDUWV PDUNHG IRU
                       LGHQWLILFDWLRQZKLFKZLOOEHXVHGDWWULDO
                   F  $Q\REMHFWLRQWRZLWQHVVHVRUH[KLELWVPXVWEHILOHGZLWKLQGD\V
                   G  )LOHDOOPRWLRQVLQOLPLQH$Q\UHVSRQVHWRDPRWLRQLQOLPLQHPXVWEHILOHG
                       ZLWKLQGD\V
                   H  )LOHDSDUWLFXODUEULHIFRQWDLQLQJDVXFFLQFWVWDWHPHQWRIWKHIDFWVRIWKHFDVH
                       WKHTXHVWLRQVRIIDFWVDQGTXHVWLRQVRIODZZLWKFLWDWLRQV
                   I  6XEPLWDJUHHGSURSRVHGMXU\LQVWUXFWLRQV,IWKHSDUWLHVFDQQRQWDJUHHFRXQVHO
                       VKDOO VXEPLW SURSRVHG MXU\ LQVWUXFWLRQV ,I WKH SDUWLHV FDQQRQ DJUHH FRXQVHO
                       VKDOOVXEPLWSURSRVHGLQVWUXFWLRQVZLWKVXSSRUWLQJDXWKRULW\
                   J  6XEPLWSURSRVHGMXU\YRLUGLUHTXHVWLRQV7KH&RXUWVKDOOFRQGXFWYRLUGLUH
                   K  'HVLJQDWHSRUWLRQVRIGHSRVLWLRQVWREHXVHGDWWULDO2SSRVLQJFRXQVHOVKDOO
                       KDYHGD\VWKHUHDIWHUWRPDNHDGGLWLRQDOGHVLJQDWLRQV
 
          ,Q WKH DEVHQFH RI JRRG FDXVH VKRZQ QR ZLWQHVV VKDOO EH SHUPLWWHG WR WHVWLI\ DQG QR
 H[KLELWRUWHVWLPRQ\VKDOOEHDGPLWWHGLQWRHYLGHQFHH[FHSWXSRQFRPSOLDQFHZLWKWKHFRQGLWLRQV
 RIWKLVRUGHU
          $Q\ H[KLELW RU FKDUW VR VXEPLWWHG DQG PDUNHG IRU ILOLQJ DW WULDO VKDOO EH DGPLWWHG LQWR
 HYLGHQFHLIRWKHUZLVHSUREDWLYHXQOHVVZULWWHQREMHFWLRQVDUHILOHGDVVHWIRUWKLQWKLVRUGHU
          
                 $WWKHFRPPHQFHPHQWRIWULDOFRXQVHOVKDOOIXUQLVKWRWKHRIILFLDOFRXUWUHSRUWHUD
 OLVWRISUHPDUNHGH[KLELWVLQWHQGHGIRUXVHDWWKHWULDO
(10) The action is assigned for trial by jury on the 13th day of October, 2020 at 9:00 a.m. Counsel shall appear
in chambers    ,7,66225'(5('WKLVBBBBGD\RIBBBBBBBBBBBBBB
at 8:30 a.m.
                           October 28, 2019


                                                
